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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :     CRIMINAL NO.
                                                    :
                 v.                                 :     MAGISTRATE NO. 22-mj-22 (RMM)
                                                    :
ILYA LICHTENSTEIN, and                              :     VIOLATIONS:
                                                    :     18 U.S.C. § 1956(h)
HEATHER RHIANNON MORGAN                             :     (Money Laundering Conspiracy)
                                                    :
                 Defendants.                        :     18 U.S.C. § 371
                                                    :     (Money Laundering Conspiracy)
                                                    :
                                                    :     18 U.S.C. § 371
                                                    :     (Conspiracy To Defraud
                                                    :     the United States)
                                                    :
                                                    :     Criminal Forfeiture:
                                                    :     18 U.S.C. §§ 981(a)(1)(C), 982(a)(1);
                                                    :     28 U.S.C. § 2461(c); 21 U.S.C. § 853(p)

                                          INFORMATION

       The United States Attorney charges that:

       At all times relevant to this Information:

                                          COUNT ONE
                                  (Money Laundering Conspiracy)

       1.        From at least in or around August 2016 through in or around February 2022, in the

District    of    Columbia      and    elsewhere,       the   defendant   ILYA    LICHTENSTEIN

(“LICHTENSTEIN”), together with co-conspirators known and unknown, including Heather

Rhiannon Morgan (“Morgan”), did knowingly conspire, combine, confederate, and agree with

each other, to violate:

                 a. Title 18, United States Code, Section 1956(a)(1)(B)(i), by conducting and

                      attempting to conduct financial transactions affecting interstate commerce,

                      which involved the proceeds of specified unlawful activity, to wit, Wire Fraud,
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                   in violation of Title 18, United States Code, Section 1343, and Computer Fraud

                   and Abuse, in violation of Title 18, United States Code, Section 1030(a)(2)(C)

                   and (a)(4), knowing that the property involved in these financial transactions

                   represented the proceeds of some form of unlawful activity, and knowing that

                   the transactions were designed in whole and in part to conceal and disguise the

                   nature, the location, the source, the ownership, and the control of the proceeds

                   of specified unlawful activity.

                                    Object of the Conspiracy

       2.      It was the object of the conspiracy for the defendants, LICHTENSTEIN and

Morgan, to unlawfully enrich themselves by laundering the proceeds of the 2016 hack and scheme

to defraud the victim virtual currency exchange, Bitfinex (the “VICTIM VCE”), and to prevent

detection of the laundering activity.

                                            Overt Acts

       3.      In furtherance of the conspiracy, and to accomplish its objects, LICHTENSTEIN,

Morgan, and others known and unknown committed and caused to be committed various overt

acts, including the following:

               a. Beginning in or around January 2017, LICHTENSTEIN began to move a

                   portion of the bitcoin (“BTC”) stolen from VICTIM VCE in a series of small,

                   complex transactions across multiple accounts and platforms. This shuffling,

                   which created a voluminous number of transactions, was designed to conceal

                   the path of the stolen funds.

               b. Between on or about August 22, 2016, and on or about April 20, 2017,

                   LICHTENSTEIN established multiple accounts at Virtual Currency Exchange



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       1 (“VCE 1”) using email addresses from an India-based email provider and in

       the names of third parties unrelated to LICHTENSTEIN.

    c. In or around February and March 2017, LICHTENSTEIN declined to respond

       to inquiries from VCE 1’s employees requesting that the registered

       accountholders for seven of the accounts provide additional identifying

       information to verify their account ownership. As a result, VCE 1 froze the

       accounts.

    d. On or about February 28, 2017, in response to inquiries from employees from

       Virtual Currency Exchange 7 (“VCE 7”) as part of VCE 7’s anti-money

       laundering     and      know-your-customer       (“AML/KYC”)         policies,

       LICHTENSTEIN falsely and fraudulently represented that he would be using

       his VCE 7 account to trade only his own virtual currency that he had acquired

       as a result of his early investment in BTC.

    e. In or about February 2018, LICHTENSTEIN and Morgan established an

       account at U.S. Financial Institution 5 (“USFI 5”) for their company, Endpass,

       and in doing so, represented to USFI 5 that the primary payments into the

       account would be from software-as-a-service customer payments. In actuality,

       LICHTENSTEIN and Morgan used the account to launder proceeds of the

       hack of VICTIM VCE.

    f. On or about January 8, 2019, in response to a KYC verification email from

       employees of Virtual Currency Exchange 10 (“VCE 10”), LICHTENSTEIN

       wrote to representatives from VCE 10, falsely and fraudulently stating that he

       has “been investing in and mining [BTC] since 2013, so the source of funds



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                would be those early crypto assets.”

             g. On or about June 27, 2019, in response to an inquiry from a representative from

                VCE 7 about how her business (SalesFolk) interacted with virtual currency and

                how her new institutional account would be used, Morgan falsely and

                fraudulently responded: “SalesFolk has some B2B customers that pay with

                cryptocurrency,” when in fact that was not the case. Morgan further responded,

                “Additionally, I also have some personal cryptocurrency of my own that I

                would like to sell to finance the development of some new software that we are

                beginning to build. Because the company is an LLC taxed as an S corp it has

                pass-through taxation and I am the sole owner. I was going to use some of my

                personal crypto to fund out new software projects.”

             h. On or about July 2, 2019, Morgan further represented to VCE 7 about the source

                of her cryptocurrency deposits: “My boyfriend (now husband) gifted me

                cryptocurrency over several years (2014, 2015,), [sic] which have appreciated.

                I have been keeping them in cold storage.” Those funds were in fact the

                proceeds of the hack of VICTIM VCE.

                     (Money Laundering Conspiracy, in violation of
                      Title 18, United States Code, Section 1956(h))

                                     COUNT TWO
                             (Money Laundering Conspiracy)

      4.     From at least in or around August 2016 through in or around February 2022, in the

District of Columbia and elsewhere, the defendant HEATHER RHIANNON MORGAN

(“MORGAN”), together with co-conspirators known and unknown, including Ilya Lichtenstein




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(“Lichtenstein”), did knowingly conspire, combine, confederate, and agree with each other, to

violate:

               a. Title 18, United States Code, Section 1956(a)(1)(B)(i), by conducting and

                   attempting to conduct financial transactions affecting interstate commerce,

                   which involved the proceeds of specified unlawful activity, to wit, Wire Fraud,

                   in violation of Title 18, United States Code, Section 1343, and Computer Fraud

                   and Abuse, in violation of Title 18, United States Code, Section 1030(a)(2)(C)

                   and (a)(4), knowing that the property involved in these financial transactions

                   represented the proceeds of some form of unlawful activity, and knowing that

                   the transactions were designed in whole and in part to conceal and disguise the

                   nature, the location, the source, the ownership, and the control of the proceeds

                   of specified unlawful activity.

                                    Object of the Conspiracy

       5.      It was the object of the conspiracy for the defendants, MORGAN and Lichtenstein,

to unlawfully enrich themselves by laundering the proceeds of the hack and scheme to defraud the

victim virtual currency exchange, Bitfinex (the “VICTIM VCE”), and to prevent detection of the

laundering activity.

                                            Overt Acts

       6.      In furtherance of the conspiracy, and to accomplish its objects, the defendants

MORGAN and Lichtenstein, and others known and unknown to the grand jury, committed and

caused to be committed various overt acts, including the overt acts described in Paragraph 3(a)-

(h), which are re-alleged and incorporated herein.

                         (Conspiracy To Commit Money Laundering,
                   in violation of Title 18, United States Code, Section 371)

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                                      COUNT THREE
                          (Conspiracy To Defraud the United States)

       7.      From at least in or around August 2016, through in or around February 2022, in the

District of Columbia and elsewhere, the defendant HEATHER RHIANNON MORGAN

(“MORGAN”), together with co-conspirators known and unknown, including Ilya Lichtenstein

(“Lichtenstein”), knowingly and willfully conspired and agreed together and with each other, to

defraud the United States and any agency thereof, to wit, the Financial Crimes Enforcement

Network (“FinCEN”) of the United States Department of the Treasury in the District of Columbia.

                                    Object of the Conspiracy

       8.      It was the object of the conspiracy for the defendants, MORGAN and Lichtenstein,

to unlawfully enrich themselves and facilitate their laundering of fraudulently-obtained proceeds

by providing false information to and deceiving virtual currency exchanges and other financial

institutions regarding the source of their funds and the nature of their transactions, and thereby to

frustrate the AML, KYC, and due diligence efforts by the above-referenced VCEs and other

financial institutions, and thereby to prevent the transmission of Suspicious Activity Reports

(“SARs”) mandated under the Bank Secrecy Act to FinCEN and the U.S. Department of the

Treasury in the District of Columbia.

                                            Overt Acts

       9.      In furtherance of the conspiracy, and to accomplish its objects, the defendants

MORGAN and Lichtenstein, and others known and unknown to the grand jury, committed and

caused to be committed various overt acts, including the overt acts described in Paragraph 3(a)-

(h), which are re-alleged and incorporated herein.

                          (Conspiracy To Defraud the United States,
                   in violation of Title 18, United States Code, Section 371)

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                                  FORFEITURE ALLEGATION

       10.      Upon conviction of the offense alleged in Count One, the defendant

LICHTENSTEIN shall forfeit to the United States any property, real or personal, involved in the

offense alleged in Count One, and any property traceable thereto, pursuant to Title 18, United

States Code, Section 982(a)(1). The United States will also seek a forfeiture money judgment for

a sum of money equal to the value of any property, real or personal, involved in Count One, and

any property traceable thereto.

       11.      Upon conviction of the offense alleged in Count Two, the defendant MORGAN

shall forfeit to the United States any property, real or personal, which constitutes or is derived from

proceeds traceable to a violation of the offense alleged in Count Two, pursuant to Title 18, United

States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c). The United

States will also seek a forfeiture money judgment for a sum of money equal to the value of any

property, real or personal, which constitutes or is derived from proceeds traceable to a violation of

the offense alleged in Count Two.

       12.      The United States will also seek forfeiture of the following specific property upon

conviction of the offenses alleged in Count One and Count Two:

             a. Approximately 94,643.29837084 in BTC (after required fees) seized from wallets
                recovered from defendants’ online storage account and contained in the recipient
                virtual currency addresses of the following transactions:

 6e0d701ac2ea3ad87fc8bcaa786b994aa943f5eb9a67a1e345769bb090bf5b9e
 afdfeeadb9f0a4691cbb8ace33a7c24c052b3608c4c8cc2e25afe053926b6389
 77ad70fadfbbad5191c47c951469095ca845006f25fe9814f30f2853af367459
 c49ff6bd054fb386cd02fc94ca34b8773229ed8a5538e023ef7bea772d70c17a
 9d06994238d0de958033f42db39a6d2cc0de35e84be0ed080e41f017f02dffb3
 ed1812e8310bb25fbd138aae17be738ad3fa20e0783a8598c8dea56d3be5dad7
 ee56a9957f1f6166440bea01d0c0c29e4cec6230bb8231eced6ba844bb095d2a
 c250725cfc9671d3849a3e85343ec5f3d045f805d002e56725c8ea2aebb9131a
 b0aa2d76fd9463da6a7aff59e37d7ebf7b6aa1b660de2b2e9ab7755cf6f60ac3

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b18e40d96906b7b17f337ad6250f0c5aa9db93498832125374102dd2f5e0ed47
8e5102edd876f71e3482b7602dd9141fbce3ac869fba55a757b4354c70536f34
11bae40ae4315a1e8f7d9a8df676db6bdb497b153711d1bf7952c540ed1a5966
e6088723889de70fa985e7b8c012c77ea693a6ef9379fb26a951a2bb5c722525
3fe798be890c7db8beaca9d005cd650e787b1b16bc5e47eef26bfa87124b6a95
d006075f40136ea7733aec2d6f32c31abc09f779de01a33e7e07804907d339c7
8e53ca8952fbf2d1a272ab376555a1ccee1ff0bcab0747a8c91b0ccfc77cc3fb
97e4eb7ca5d0b2b6d501a53478486d5ed75ce58d1204c6036f25b33439d48627
658a550600e814f7bf7d032b7984912857f37c96a68e4dd3eb1dce4fc774e26f
98281f388a4441d7bb00537e65b1a4581dcaddd3606fc09f6cf19598343be34d
d1dbc472abe47902aa71e639ba2feb2098b474ab20b853168ecdb0d87ce02955
61594a56cd2ef501cdb55b9037cd5785d1ad2eedfb1a4fab7ded50b1052a0650
b7bf853fd6eb27f66963d219d29b85e13796e315473b7c08484335a0b0da7669
9af41957244e97e70378a7afd2d41b73d0a64d94c9b2df9049c29dd1919741cb


        b. Approximately 117,376.52651940 in Bitcoin Cash (BCH) (after required fees)
           seized from wallets recovered from defendants’ online storage account and
           contained in the recipient virtual currency addresses of the following transactions:

c29fb28633a9bee7720f7ec021c2441dc6a2289c92e887ac5214c35d49314379
0b9013f818de45ddfa9068f54f8513f15ae35bd711054d119b483a791c750684
0ae0e3c0db61a2542015164bdcead1636c614bdd5bf51b9537c5b8312db2b84a
16e1ba9b30fd5c86c9dd4ef3967105c2fbfe7ed9f510900b8acd7f7a0a9cdbd8
2544551e053688217ececb544bdc065d502db4ff4f227053fa25cc41be907541
4f24389c09897d50239d0be3ec39044160f65985cfb3fdf11d117a8fa39aaa24
6ad1a5ef2ed573b010e7ab32b395bed32142c07bf8bb67534880bbb03591215d
7278e247fc3c7bfa81732ba63c628fe30cb160ec9b7fa357a5dcff8a2f6738e3
739b58b49039856f8db1da64c713372e04c4e09f9ca32437b639b4d37aad920b
7570b746ecd24f66eb754e100f79c5259e9eecb0c7a0188e6cf5ee84f76d9b21
7cbd6e7161bbcb80865ef855128bbe1cdeb1e6b87788a99c2559046294bc898f
e308fc1199a044f613578e365313008762b8b779b3d92191e6e6ba9a6f5e2182
f8efc360fcd7d6f27b9f7e51911f361b94cb1ff2734be5e301b3cacedda9481e


        c. Approximately 117,376.58178024 in Bitcoin Satoshi Version (BSV) (after
           required fees) seized from wallets recovered from defendants’ online storage
           account and contained in the recipient virtual currency addresses of the following
           transactions:

2cf808c73bda45a6ee1c266c60da50f01250d9452f7b51e1caaf3ecec605b416
a0ede2c37597976de79a67db2096b3d8f7a4f60f357c09953a7342ad1948b4b5
6b46c0067f786acf4f5a1925f12b9860ad61817829f30fefd898ad0c3bbaeaf0


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        d. Approximately 118,102.03258447 in Bitcoin Gold (BTG) (after required fees)
           seized from wallets recovered from defendants’ online storage account and
           contained in the recipient virtual currency addresses of the following transactions:

a4ba827e99c6cef43ff590457671b63c0d52b2c215797e67c81fc168f499932c
97263227ea621461f3d22132c3e7562b0e401853fd4aced1db1b34aba1a65ab4
41ad49ad96dfd64eb0293484d4953ccbff7d70839e4c7b75db472c5553db1532
d6e8f7d9aac687cac9af801b4b38cbc8e71db2f21d41f0a6e0d8052d8087456b
c2d69e0a0090f201a29d6afb3655b7118b2282146abf64b044481ed99eb2fa27
ec3e2b93e7f7be50bb827ebfd366e2e1f4627dd8ed4550427ec793a3ea20187c
2aa7dbb29d707fb1150c13d1ee6a0a17eeef7326116251cb5d13081fcd297ad8
70ed72a2c1e2d828f314f5bb327b0e03421bf854c4aba3ea9393258af6fba044
c656cd61fce6c3aebeb0f20818d5d092c04c379d3fc72e3ec7e4f019f71a40ec
2238af7a93f797a32ea20492fffa5e27b4d425c46ee7cb0e4fa262e2cddf3142
ec2f4d2e7c13f19657ad4559a9bfd254437989f0f45e8993a17d84c374ecb02f
5e26b7706b1c53b49d99ac1f501971b3d62c6d7e0ba6a01c9791e0d675cfb6e7


        e. Approximately 29,016.98 in Monero (XMR) contained within wallets accessible
           via private keys contained within the defendants’ online storage account;

        f. Stolen virtual currency contained within the following wallets:
           0x8CE693CB0626924583931F25f50AF8fC1C6517F0, which holds
           approximately 8.56 Ether (ETH) and approximately 4,507.99 USD Coin (USDC),
           as well as various other ERC-20 tokens;
           0x331865e142ACA526B9f75464A2B597ECdaCAF557, which holds
           approximately 13.88 ETH, approximately 6,656,048 Aave USDC (aUSDC), and
           approximately 120 Wrapped Ether (WETH), as well as various other tokens; and
           0x3b2Cd27cE5a8633160bC7875B35009f010a51B21, which holds approximately
           80 WETH, and approximately .39 ETH.

        g. Approximately .879544 Curve DAO tokens contained within the following
           address:
           0x612e5774af05cef0626f429d876a315bbdb794fac8fe361ba1d4a01cb3db86a4;

        h. Approximately 1,999,723.976 in Tether (USDT) contained within Yearn Finance
           Liquidity Pool address 0xaC848276B10B2364fA06C206EE1D059acCD17412,
           approximately 3,689,545.195 USDT contained within Yearn Finance Liquidity
           Pool address 0xE2F699AB099e97Db1CF0b13993c31C7ee42FB2ac, and
           approximately 1,700,000 USDT contained within Yearn Finance Liquidity Pool
           address 0x6811c26b566e9582B68255B2225917AF96dd8Ec2;

        i. Assorted U.S. and Canadian gold coins excavated and recovered by law
           enforcement from LOCATION 1, a premises in California known to the defendants
           and the Government;


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  j. Approximately 2,818.199 BTC (after required fees) seized from wallets recovered
     from Defendants’ online storage account;

  k. Approximately 12,267.025 BTC (after required fees) seized from wallets recovered
     from an external hard drive recovered from the Defendants’ residence at 75 Wall
     Street, Apartment 33M, New York, NY 10005;

  l. Approximately 1,155.901 BTC (after required fees) seized from wallets recovered
     from Defendants’ online storage account and an external hard drive recovered from
     the Defendants’ residence at 75 Wall Street, Apartment 33M, New York, NY
     10005;

  m. Approximately 901,014 in USDC (after required fees) seized from wallets
     recovered from Defendants’ online storage account and an external hard drive
     recovered from the Defendants’ residence at 75 Wall Street, Apartment 33M,
     New York, NY 10005;

  n. Approximately 290,729 USDT (after required fees) seized from wallets recovered
     from Defendants’ online storage account and an external hard drive recovered from
     the Defendants’ residence at 75 Wall Street, Apartment 33M, New York, NY
     10005;

  o. Approximately 5,990 USDT (after required fees) seized from wallets recovered
     from an external hard drive recovered from the Defendants’ residence at 75 Wall
     Street, Apartment 33M, New York, NY 10005;

  p. Approximately 1000.06 in Ether (ETH) (after required fees) seized from wallets
     recovered from Defendants’ online storage account;

  q. Approximately 1,030,436.50 in aUSDT cryptocurrency (after required fees)
     seized from wallets recovered from Defendants’ online storage account and an
     external hard drive recovered from the Defendants’ residence at 75 Wall Street,
     Apartment 33M, New York, NY 10005;

  r. Approximately 17,572,068.53 in aUSDC cryptocurrency (after required fees)
     seized from wallets recovered from Defendants’ online storage account and an
     external hard drive recovered from the Defendants’ residence at 75 Wall Street,
     Apartment 33M, New York, NY 10005;

  s. Approximately 3,542,129.56 in Yearn Vault USDT (yvUSDT) cryptocurrency
     (after required fees) seized from wallets recovered from Defendants’ online
     storage account and an external hard drive recovered from the Defendants’
     residence at 75 Wall Street, Apartment 33M, New York, NY 10005;

  t. Approximately $228,266.02 seized from JPMorgan Chase bank account number
     877916952;

  u. Approximately 7.998 BTC (after required fees) seized from wallets recovered

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               from an external hard drive recovered from the Defendants’ residence at 75 Wall
               Street, Apartment 33M, New York, NY 10005;

           v. Approximately 1,770.049 ETH (after required fees) seized from wallets recovered
              from an external hard drive recovered from the Defendants’ residence at 75 Wall
              Street, Apartment 33M, New York, NY 10005;

           w. Approximately 264.863 BTC (after required fees) seized from wallets recovered
              from an external hard drive recovered from the Defendants’ residence at 75 Wall
              Street, Apartment 33M, New York, NY 10005;

           x. Approximately $352,381.55 seized from Wells Fargo bank account number
              5361262370;

           y. Approximately 0.196 BTC (after required fees) seized from wallets recovered from
              an external hard drive recovered from the Defendants’ residence at 75 Wall Street,
              Apartment 33M, New York, NY 10005;

           z. Approximately 1,401.567 ETH (after required fees) seized from wallets recovered
              from Defendants’ online storage account;

           aa. Approximately 1,866.624 ETH (after required fees) seized from wallets recovered
               from an external hard drive recovered from the Defendants’ residence at 75 Wall
               Street, Apartment 33M, New York, NY 10005;

           bb. Approximately $2,460,375 seized from the Flagstar bank account corresponding
               to Signature Bank account number 1503814168; and

           cc. Approximately 1,066 in WETH (after required fees) seized from wallets
               recovered from defendants’ online storage account and an external hard drive
               recovered from the defendants’ residence at 75 Wall Street, Apartment 33M, New
               York, NY 10005.

        13.    If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendants:

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property that cannot be divided without

                   difficulty;


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the defendants shall forfeit to the United States any other property of the defendants, up to the

value of the property described above, pursuant to Title 21, United States Code, Section 853(p).

               (Criminal Forfeiture, pursuant to Title 18, United States Code,
                Sections 981(a)(1)(C), 982(a)(1); Title 28, United States Code,
              Section 2461(c); and Title 21, United States Code, Section 853(p))


                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052


                                     BY:     /s/ Christopher B. Brown
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